         Case 1-25-41368-jmm             Doc 26      Filed 04/21/25       Entered 04/21/25 15:43:09




Leon Kosovskiy
44 Avonwood Road
Unit 315
Avon CT 06001




Hon. Jill Mazer-Marino
U.S Bankruptcy Court, EDNY
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East – Suite 1595
Brooklyn, NY 11201-1800

My name is Leon Kosovskiy, and I have been a resident of Avon Place for over 20 years. I am writing to express
my deep concern regarding the management and conduct of Ahron Rudich of Avon Place LLC, who acquired a
majority stake in the complex in the fall of 2022.

Since taking control, Mr. Rudich—along with his employee, Bret Hurst—has consistently neglected the property
and failed to provide essential services, including heat and hot water. These are basic necessities that every
resident is entitled to, and their absence has caused significant distress to those living in the complex.
More troubling, however, is Mr. Rudich’s use of threats, intimidation, and harassment in what appears to be a
coordinated effort to pressure individual condo owners into selling their units to his LLC. To date, approximately
15 units have been transferred under these troubling circumstances.

Mr. Rudich, through his controlling interest in the condominium association, has exercised near-total authority
over the property with little to no regard for the law. He has failed to follow the association's bylaws, rules, and
regulations, and has not provided insurance documentation to individual unit owners as required. There is also
strong reason to believe that insurance funds intended for the restoration of the property after a fire have been
misappropriated or embezzled.

I am urging the legal system to investigate these actions thoroughly and to hold those responsible accountable.
The residents of Avon Place deserve transparency, basic services, and the protection of their rights as tenants
and homeowners.

Sincerely,
Leon Kosovskiy
lkosovskiy@gmail.com
